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                            CERTIFICATE OF CORPORATE
                          RESOLUTION FOR PACHANGA, INC.

       I, the undersigned, being the Sole Director of Pachanga, Inc., a New York corporation

(the “Company”), do hereby certify that the Board of Directors (the “Board”) of the Company

duly adopted the following resolutions at a special meeting held on September [ ], 2018, and

they have not been modified or rescinded, and remain in full force and effect:

               RESOLVED, that in the judgment of the Board it is desirable and
               in the best interests of the Company, its creditors, shareholders and
               other interested parties that a petition be filed by the Company
               seeking relief under the provisions of chapter 11 of title 11, United
               States Code, (the “Bankruptcy Code”) in which the authority to
               operate as a debtor-in-possession will be sought, and the filing of
               such petition is authorized hereby, and the Company shall initiate a
               bankruptcy case and proceedings; and be it further

               RESOLVED, that any individual duly appointed by the Board as
               an authorized officer (each, an “Authorized Officer,” and together,
               the “Authorized Officers”), be and each hereby is, authorized and
               directed, for and on behalf of the Company, to execute and verify a
               petition in the name of the Company under chapter 11 of the
               Bankruptcy Code and cause the same to be filed in a United States
               Bankruptcy Court in such form and at such time as the Authorized
               Officer executing said petition on behalf of the Company shall
               determine; and be it further

               RESOLVED, that the Authorized Officers of the Company be, and
               each of them hereby is, authorized and directed, for and on behalf
               of the Company to take or cause to be taken any and all actions, in
               compliance with applicable law, which the Authorized Officer
               taking such action(s) may deem necessary or appropriate to
               communicate the position of this Board, as set forth in the
               foregoing resolutions, to the Company’s stockholders; and be it
               further

               RESOLVED, that the Authorized Officers of the Company, or any
               of them, be and they hereby are, authorized to execute, verify
               and/or file or cause to be filed (or direct others to do so on their
               behalf), all documents, including, without limitation, petitions,
               schedules, lists, affidavits, motions, pleadings and other papers and
               to take any and all action which they may deem necessary or
               proper in connection with such proceedings under chapter 11 of the
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            Bankruptcy Code, and in that connection to retain and employ
            Rubin LLC, and to retain and employ other legal counsel or other
            professionals which they may deem necessary or proper with a
            view to the successful conclusion of such bankruptcy case; and be
            it further

            RESOLVED, that the Company, as debtor and debtor in
            possession be, and hereby is, authorized to grant any guarantees,
            pledges, mortgages, and other security interests as necessary to
            obtain use of cash collateral or debtor-in-possession financing; and
            be it further

            RESOLVED, that the Authorized Officers be, and each of them
            hereby is, authorized and empowered for and in the name and on
            behalf of the Company to amend, supplement or otherwise modify
            from time to time the terms of any documents, certificates,
            instruments, agreements or other writings referred to in the
            foregoing resolutions; and be it further

            RESOLVED, that the Authorized Officers be, and each of them
            hereby is, authorized, in the name and on behalf of the Company to
            take or cause to be executed or delivered all such further
            agreements, documents, certificates and undertakings, and to incur
            all such fees and expenses as in their judgment shall be necessary,
            appropriate or advisable to effectuate the purpose and intent of any
            and all of the foregoing resolutions; and be it further

            RESOLVED that all acts lawfully done or actions lawfully taken
            by any Authorized Officer to seek relief on behalf of the Company
            under chapter 11 of the Bankruptcy Code, or in connection with
            the chapter 11 case, or any matter related thereto, be and hereby
            are, adopted, ratified, confirmed and approved in all respects as the
            acts and deeds of the Company.

      IN WITNESS WHEREOF, I have hereunto set my hand, this [ ] day of September, 2018.

                                                       ________________________________
                                                                              Lars Akerlund
                                                                 President and Sole Director




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